                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                        NORTHERN DIVISION AT GREENEVILLE

 WESTFIELD NATIONAL INSURANCE                       )
 COMPANY and UNITED STATES                          )
 LIABILITY INSURANCE GROUP                          )
                                                    )
        Plaintiffs,                                 )
                                                    )
 v.                                                 )      No. 2:20-CV-00115
                                                    )      TWELVE-MEMBER
                                                    )      JURY DEMANDED
 STEVEN MCRAE d/b/a                                 )
 MCRAE PLUMBING & EXCAVATING,                       )
                                                    )
        Defendant.                                  )

                         NOTICE OF APPEARANCE OF COUNSEL

        Come now Jason E. Fisher, Esq. and the law firm Fisher | Russell PLLC and hereby enter

 an appearance as the attorneys of record for Steven McRae d/b/a McRae Plumbing &

 Excavating.

        All pleadings and notices and other documents to be served upon Steven McRae d/b/a

 McRae Plumbing & Excavating are hereby requested to be served upon Jason E. Fisher, Esq. as

 counsel of record and delivered or mailed to Fisher | Russell, PLLC, 10265 Kingston Pike, Suite

 C, Knoxville, TN 37922.

        This the 15th day of July, 2020.




                                     1
Case 2:20-cv-00115-TAV-CRW Document 13 Filed 07/15/20 Page 1 of 2 PageID #: 38
                                       Respectfully submitted,



                                          /s/ Jason E. Fisher______________
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                                 CERTIFICATE OF SERVICE

 I hereby certify that on this the 15th day of July, 2020, a copy of the foregoing Notice of
 Appearance of Counsel for Defendant Steven McRae d/b/a McRae Plumbing & Excavating
 was filed electronically. Notice of this filing will be sent by operation of the Court’s electronic
 filing system to all parties indicated on the electronic filing receipt. All other parties will be
 served by regular U.S. mail. Parties may access this filing through the Court’s electronic filing
 system.


                                               /s/ Jason E. Fisher
                                               Jason E. Fisher (BPR #021467)




                                     2
Case 2:20-cv-00115-TAV-CRW Document 13 Filed 07/15/20 Page 2 of 2 PageID #: 39
